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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  CLARENCE WOMACK,

                Plaintiff,

  v.

  PIONEER CREDIT RECOVERY, INC., a Delaware corporation,

                Defendant.


                             COMPLAINT AND JURY DEMAND


                                      JURISDICTION

  1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.    This action arises out of the Defendant’s violations of the Fair Debt Collection

        Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                           VENUE

  3.    Venue is proper in this District because the acts and transactions occurred here,

        the Plaintiff resides here, and the Defendant transacts business here.

                                          PARTIES

  4.    Plaintiff, Clarence Womack, is a natural person who resides in the City of Colorado

        Springs, County of El Paso, State of Colorado.

  5.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
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  6.    Defendant, Pioneer Credit Recovery, Inc., is a Delaware corporation operating from

        an address at 26 Edward Street, Arcade, New York, 14009.

  7.    The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  8.    The Defendant is licensed as a collection agency by the state of Colorado.

  9.    The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  10.   The Defendant regularly attempts to collect debts alleged to be due another.

                                FACTUAL ALLEGATIONS

  11.   Sometime before December 2007 the Plaintiff’s wife allegedly incurred a financial

        obligation that was primarily for personal, family or household purposes namely

        an amount due and owing on a personal account (hereinafter the “Account”).

  12.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  13.   The Account went into default with the original creditor.

  14.   Sometime after the Account went into default the Account was placed or

        otherwise transferred to the Defendant for collection from the Plaintiff’s wife.

  15.   In the year prior to the filing of the instant action the Plaintiff received telephone

        calls and voicemail messages from the Defendant and / or representatives,

        employees and / or agents of the Defendant who were attempting to collect the

        Account. The Plaintiff called the Defendant in response to the telephone calls

        and voicemail messages. These telephone calls and voicemail messages each

        individually constituted a “communication” as defined by FDCPA § 1692a(2).
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  16.   During the telephone calls the Defendant and / or representatives, employees

        and / or agents of the Defendant attempting to collect the Account falsely

        threatened to take legal action against the Plaintiff.

  17.   During the telephone calls the Defendant and / or representatives, employees

        and / or agents of the Defendant attempting to collect the Account falsely

        threatened to garnish the Plaintiff’s Social Security.

  18.   During the telephone calls the Defendant and / or representatives, employees

        and / or agents of the Defendant repeatedly called the Plaintiff multiple times a

        day to annoy, abuse and harass the Plaintiff while attempting to collect the

        Account.

  19.   The Defendant has not filed any legal action(s) against the Plaintiff.

  20.   The Defendant has not received any judgment(s) against the Plaintiff.

  21.   The Defendant has not garnished the Plaintiff’s Social Security.

  22.   The statements and actions were undertaken by the Defendant and its

        representatives, employees and / or agents as part of a campaign of abusive and

        unlawful collection tactics directed at the Plaintiff.

  23.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute harassment or abuse and therefore violate FDCPA 1692d

        preface, d(2) and d(5).

  24.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute false and misleading representations and means and

        violate FDCPA 1692e preface, e(2)(A), e(3), e(4), e(5), e(7), e(10) and e(11).
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  25.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute unfair or unconscionable means to collect or attempt to

        collect a debt and violate FDCPA 1692f preface.

  26.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were attempts to frighten,

        harass and abuse the Plaintiff into paying the alleged debt.

  27.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were willful and intentional

        violations of the FDCPA.

  28.   As a consequence of the Defendant’s collection activities and

        communications, the Plaintiff has sustained actual damages.

                                    RESPONDEAT SUPERIOR

  29.   The representatives and / or collectors at the Defendant were employees of and

        agents for the Defendant, were acting within the course and scope of their

        employment at the time of the incidents complained of herein and were under the

        direct supervision and control of the Defendant at all times mentioned herein.

  30.   The actions of the representatives and / or collectors at the Defendant are

        imputed to their employer, the Defendant.

  31.   As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered

        the aforementioned damages.

                                COUNT I, FDCPA VIOLATIONS

  32.   The previous paragraphs are incorporated into this Count as if set forth in full.
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  33.   The acts and omissions of the Defendant and its representatives, employees and

         / or agents constitute numerous and multiple violations of the FDCPA, including

         but not limited to § 1692d preface, d(2), d(5), § 1692e preface, e(2)(A), e(3), e(4),

         e(5), e(7), e(10), e(11) and § 1692f preface.

  34.   The Defendant’s violations are multiple, willful and intentional.

  35.   Pursuant to FDCPA section 1692k the Plaintiff is entitled to actual damages,

        statutory damages up to $1,000.00, reasonable attorney's fees and costs.



                                 JURY TRIAL DEMAND

  The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

  Fed. R. Civ. Pro. 38.

                                          PRAYER

  WHEREFORE, the Plaintiff prays that the Court grants the following:

  1.    Actual damages under 15 U.S.C. § 1692k(a)(1).

  2.    Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

  3.    Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

  4.    Such other and further relief as the Court deems just and proper.

                                            Respectfully submitted,


                                            _s/ David M. Larson___________
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